
PER CURIAM:
11Denied. Relator’s claim about the.admission of the victims’ recorded interviews is repetitive. La.C.Cr.P. art. 930.4(A). Relator also fails to show that he received ineffective assistance of counsel under the standard of Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). See also State v. Lee, 14-2374, pp. 8-9 (La. 9/18/15), 181 So.3d 631, 638 (attempt “to re-litigate a claim that has been previously disposed of, by couching it ás a post-conviction ineffective assistance of counsel claim, [should be] generally unavailing.”). Finally, relator shows no abuse of discretion in the district court’s denial of his requests to supplement his application and for a free copy of the trial transcript. See State ex rel. Duhon v. Whitley, 92-1740 (La. 9/2/94), 642 So.2d 1273(district court has discretion.to decide whether to allow a post-conviction petitioner to amend or supplement a timely-filed application); see also State ex rel. Bernard v. Cr.D.C., 94-2247 (La. 4/28/95), 653 So.2d 1174.
Relator has now fully litigated his application for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application | ¡.only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 "and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against 'successive filings mandatory.. Relator’s claims have now been fully litigated in accord with La. C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the" filing of a successive application applies, relator has exhausted his right to state collateral review. The district court is ordered to record a minute entry consistent with this per curiam.
